Case:09-08945-jrh Doc #:1-1 Filed: 07/28/2009 Page 1 of 22
B6A (Official Form 6A) (12/07)

In re Morgan, Nancy ; Case No.
Debtor (if known}

SCHEDULE A - REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal. equitable, or future interest, including all property owned as a co-
tenant, community property, or im which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H.”
“W,? “J,” of “C™ in the column labeled “Husband, Wife. Joint, or Community.” If the debtor holds no interest in real property, write “None” under
“Description and Location of Property.”

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property. state the amount of the secured claim. See Schedule D. Ifuo entity claims
to hold a secured interest in the property, write “None” in the colunm labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

DESCRIPTION AND
LOCATION OF NATURE OF DEBTOR’S
PROPERTY INTEREST IN PROPERTY

AMOUNT OF
OF DEBTOR’S SECURED
INTEREST IN CLAIM

OR COMMUNITY
E
a

HUSBAND, WIFE, JOINT,

Honse Fee Simple 69000 64000
Loc: 214 Dickens Drive Toledo Ohio

Total> 69000
(Report also on Summary of Schedules.}

Case:09-08945-jrh Doc #:1-1 Filed: 07/28/2009 Page 2 of 22

B68 (Official Form 6B) (12/07)

In re Morgan, Nancy

Debtor

SCHEDULE B - PERSONAL PROPERTY

Exceptas directed below, list all personal property of the debtor of whatever kind. Ifthe debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category. attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital

community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an

(If known)

individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and

Unexpired Leases.

If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B.. a minor child, by John Doe, guardian.” Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

TYPE OF PROPERTY

DESCRIPTION AND LOCATION
OF PROPERTY

CURRENT VALUE OF
DEBTOR’S INTEREST
IN PROPERTY, WITH-
OUT DEDUCTING ANY
SECURED CLAIM
OR EXEMPTION

1. Cash on hand.

2. Checking, savitigs or other finan-
cial accounts, certificates of deposit
or shares in banks, savings and loan,
thrift, building and joan, and bome-
stead associations, or credit unions,
brokerage houses, of cooperatives.

3. Security deposits with public util-
ities, telephone companies, land-
lords, and others.

4. Housebold goods and fomishings,
including aucho, video, and computer
equipment.

5. Books; pictures and other art
objects: antiques; stamp, coin,
collections of collectibles.

6. Wearing apperel.

7. Furs and jewelry.

8. Firearms and sports, photo-
graphic, and other hobby equipment.

9. Interests in insurance policies.
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name
each issuer.

11. Interests in an educahon IRA as
defined m 26 U.S.C. § 530(bX1) or under
a qualified State auition plan as defined in
26 U.S.C. § 52901). Give particutars.
(File separately the record(s) of any such
interest(s). 11 U.S.C. § 521(c).)

@ Kimzoz

Rackawedt Ch cnt
“ashe nt

Furnishings - Michigan
Laptop And Desktop Compater - Michigan

Clothing And Family Photos - Michigan

Soo

$4

3s

100

Case:09-08945-jrh Doc #:1-1 Filed: 07/28/2009 Page 3 of 22
B6B (Official Form 6B) (12/07) -- Cont.

In re Morgan, Nancy : Case No,
Debtor . (if known)

SCHEDULE B - PERSONAL PROPERTY

{Continuation Sheet)
g CURRENT VALUE OF
DEBTOR'S INTEREST
N g | IN PROPERTY, WITH-
TYPE OF PROPERTY o DESCRIPTION AND LOCATION OUT DEDUCTING ANY
N OF PROPERTY SECURED CLAIM
E a OR EXEMPTION

12. Intevests in TRA, ERISA, Keogh, or x
other pension or profit sharing plarrs.

13. Stock and interests in incorporated x
and vamcorporated businesses.

Teemsize.

14. Interests im partnerships of joint xX
ventures. Itemize.

15, Goverument and corporate bonds x
and other negotiable and non-
pegotieble imstroments.

16. Accounts recetvable. x

17. Albmony, maintenance, support, x
and property settlements to which the
debtor is oc may be entitled. Give
particulars.

18. Other liquidated debts owed to x
particulars.

19. Equstable or future interests, life x
estates, and rights or powers exercisable
for thee benefit of the debtor other than
those listed in Schedule A— Real
Property.

20. Contingent and noncontingent x
interests in estate of a decedent, death
benefit plan, life msurance policy, of trust.

21. Other contingent and unliquidated x
claims of every nature, incioding tax
refunds, counterclaims of the debtor, and
Tights to setoff claims. Give estumated
value of each.

Case:09-08945-jrh Doc #:1-1 Filed: 07/28/2009 Page 4 of 22
B6B (Official Form 6B) (12/07) — Cont.

In re Morgan, Nancy , Case No.
Debtor (if known)

SCHEDULE B - PERSONAL PROPERTY

(Continzation Sheet)

5 CURRENT VALUE OF
DEBTOR'S INTEREST
E IN PROPERTY, WITH-

TYPE OF PROPERTY DESCRIPTION AND LOCATION i

OUT DEDUCTING ANY
OF PROPERTY i

SECURED CLAIM
5 OR EXEMPTION

mz2on

33. Farming equipment and implements. x

34. Farm supplies, chemicals, and fred.

35. Cather personal property of any kind x

a continuation sheets attached Tow> |$ gm SO84F

Case:09-08945-jrh Doc #:1-1 Filed: 07/28/2009 Page 5 of 22
B6C (Official Form 6C) (12/07)

Iu re Morgan, Nancy , Case No,
Debtor (if known)

SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under: CO Check if debtor claims a homestead exemption that exceeds
(Check one box) $136,875.

fT 1: U.S.C. § 522(b\2)

W 11 US.C. § 522(b¥3)

CURRENT
SPECIFY LAW VALUE OF VALUE OF PROPERTY
DESCRIPTION OF PROPERTY PROVIDING EACH CLAIMED WITHOUT DEDUCTING
EXEMPTION EXEMPTION EXEMPTION
House 11useS22(d\(1); 69000 69000
2000 Saturn Luse$22(d\(2); 3500 3500
Clothing And Family Photos 600.6023(1){a); 100 100
Furnishings 11us¢$22(d3); 500 500
Laptop And Desktop Computer j 1 JuscS22(d\(3); 400 400

checing Accomnks — | fluse 22d (3) S84 seq

Case:09-08945-jrh Doc #:1-1 Filed: 07/28/2009 Page 6 of 22

B6D (Official Form 6D) (12/07)

In re Morgan, Nancy . Case No.
Debtor dif known)

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful
to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
Judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.

List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B.. a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §i12
and Fed, R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided,

If any entity other than a spouse in a joint case may be jointly liable on a claim, place en “X” in the column labeled “Codebtor,” include the
entity on the appropriate schedule of creditors, and complete Schedule H — Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital commumity may be liable on each claim by placing an “H,” “W,” “J.” or “C” in the column labeled “Husband, Wife,
Joint, or Community.”

Ef the claim is contingent, place an “X” in the column labeled “Contingent,” If the claim is unliquidated, place an “XC” in the column
labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of
these three columns.)

Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes.
labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value
of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.

[} Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

CREDITOR’S NAME AND al | DATE CLAIMWaS | _ | AMOUNT OF CLAIM | UNSECURED
MAILING ADDRESS Slee5 INCURRED, “le /ea WITHOUT PORTION, IF
INCLUDING ZIP CODE AND | =| 7° % | NATURE OF LIEN, | & | S | # | DEDUCTING VALUE ANY
AN ACCOUNT NUMBER | 2| Sb = AND |=! | OF COLLATERAL
(See Instructions Above.) 6/355 | vescrmon |5|5| ¥
S| 255 | anpvaLueor |S} 5] 45
=~“ PROPERTY | © | 2%
SUBJECT TO LIEN
ACCOUNT NO. 174987494 2007 64000 0
Bank Of America Mortgage
Dallas TX 75265-0070
VALUES 69000
ACCOUNT NO, 152156 2006 3837 3337
Valley First Credit Union Auto Loan
Po Box 1411 2000 Saturn
Modesto CA 95353-1411 Sa
VALUES 3500 |
ACCOUNT NO.
VALUES
continuation sheets Subtotal $ $
Total ® 3 6983 3
(Use only on last page) ee 7 2337
(Report also on Summary of (If applicable. report
Schedules.) also on Statistical
Sunamary of Certain
Case:09-08945-jrh Doc #:1-1 Filed: 07/28/2009 Page 7 of 22

B6E (Official Form 6E) (12/07)

In re Morgan, Nancy : Case No.
Debtor dif known)

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority. listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child’s initials and the name and address of the child's parent or guardian, such as
"A.B., 8 minor child, by John Doe. guardian.” Do not disclose the child's name, See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X” in the colunm labeled "Codebtor,” include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the cohumn labeled “Husband, Wife.
Joint, or Community.” If the claim is contingent, place an "X" m the colamn labeled “Contingent.” If the claim is unliquidated, place an "X" in
the column labeled "Unliquidated.” If the claim is disputed, place an "X™ in the column labeled "Disputed." (You may need to place an "X" in more
than one of these three columns.}

Report the total of claims listed on each sheet in the box labeled “Subtotals” on each sheet, Report the total of all claims listed on this Schedule
E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

Report the total of amounts entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

1] Cheek this box if debtor hes no creditors holding unsecured priority claims to report on this Schedule E.
TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in chat category are listed on the attached sheets)
oO Domestic Support Obligations

Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § §07(a)(1).

CT Extensions of credit in an involuntary case

Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

2) Wages, salaries, and commissions

Wages, salaries, and commussions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $10,950* per person eamed within 180 days immediately preceding the filing of the original petition. or the
cessation of business, whichever occurred first, to the extent provided im 11 U.S.C. § 507(a}(4).

Oo Contribations to employee benefit plans

Moncy owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
Case:09-08945-jrh Doc #:1-1 Filed: 07/28/2009 Page 8 of 22
B6E (Official Form 6E) (12/07) - Cont.

In re Morgan, Nancy : Case No.

Debtor (if known)

Fj Certain farmers and fishermen

Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(aX(6).

11 Deposits by individuals

Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, ar household use,
that were not delivered or provided, 11 U.S.C. § 507(a)(7).
0 Taxes and Certain Other Debts Owed to Governmental Units

Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

7} comminnents to Maintain the Capital of an Insured Depository Institution

Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Govemors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (aX9).
C) cisims for Death or Personal Injury While Debtor Was Intoxicated

Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).

* Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

1 continuation sheets attached
Case:09-08945-jrh Doc #:1-1 Filed: 07/28/2009 Page 9 of 22

B6E (Official Form GE) (12/07) - Cont.

in re Morgan, Nancy , Case No.
Debtor (if known)
SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
(Continuation Sheet}
Governmental
Type of Priority for Claims Listed on This Sheet
af
CREDITOR’S NAME, 3 = DATE CLAIM WAS i a AMOUNT AMOUNT AMOUNT
MAILING ADDRESS sc2 | INcuRREDAND | Z [& | OF ENTITLED NOT
INCLUDING ZIP CODE, ZEZ | CONSIDERATION o|] 4 |# cLAM TO ENTITLED
AND ACCOUNT NUMBER we] 2&8 z FOR CLAIM ma = |= PRIORITY To
(See instructions above.) E| = z/2|% PRIORITY, IF
iw 5 5 ANY
a as
2
we
Account No. Parcel 20-23211 2008 Prop Taxes 2322 2322 °
Treasurer Of Lucas County Property Tex
One Government Center #500
Toledo OH 43607-2253
Account No.
Account No.
Account Na.
Sheetno 3_ of 3 continuation choets attached to Schedule of Subtois> 1S $
Creditors Holding Briociry Clainse (Totals of this page) | 2522 2322 6
Total
(Use onky on last page of the completed
Schedule E. Report also on the Summary
of Schedules,}
Totals
(Use only on last page of the completed
Schedule E. If sppiicable, report also on
the Statistical Summary of Certain
Lisbilines and Related Data}

Case:09-08945-jrh Doc #:1-1 Filed: 07/28/2009 Page 10 of 22
B6F (Official Form 6F) (12/07)

In re Morgan, Nancy : Case No.
Debtor Gf known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number, of al! entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do sa. Ifa minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian.” Do not disclose the child's name. See, 11 U.S.C. §112 and Fed.
R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital
community may be lisble on each claim by placing an “H.,” “W,” “J,” or °C” in the column labeled “Husband, Wife, Joint, or Community.”

If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an ‘“X” m the column labeled “Unliquidated,”
If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
and Related Data..

oO Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

ai
CREDITOR’S NAME, 5 we DATE CLAIM WAS . 1a AMOUNT OF
MAILING ADDRESS Z|7o2 INCURRED AND ZI1El aA CLAIM
INCLUDING ZIP CODE, c gS Ee = CONSIDERATION FOR o 4 | 3
AND ACCOUNT NUMBER | @ | Z&$ CLAIM. Z2/5/5
(See instructions above.) o {256 | weramissupectto | § | >| &
oz SETOFF, SO STATE. 8 zZ a
ACCOUNT No, 101894545 12/2008 52
At&t Uverse Internet And Cable Ty
Po Box 5014
Carol Stream IE 60197-5014
ACCOUNT NO. 4059904001707061 2007 2404
Billnelater Credit Card
Po Box 105658
Atlanta GA 30348
ACCOUNT NO. €727-10261708 4.2009 195
Biotech Clinicat Laboratory Blood Tests
24669 Indoplex Circle
Farmington Hills MI 48335-2527
ACCOUNT NO. 4003447013675477 2009 1100
Capitalone Credit Card
Po Box 6492
Carol Stream IL 60197-4192
Subtotal» | $ 3751
$ _contimation sheets attached Totaly | $
(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.)

Case:09-08945-jrh Doc #:1-1 Filed: 07/28/2009 Page 11 of 22

B6F (Official Form 6F) (12/07) - Cont.

In re Morgan, Nancy

Debtor

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

’ Case No.

(if known)

(Continuation Sheet)
ui
CREDITOR’S NAME, ne =x DATE CLAIM WAS — a AMOUNT OF
MAILING ADDRESS oO | 202 INCURRED AND S12 18 CLAIM
INCLUDING ZIP CODE, a S 5 > CONSIDERATION FOR SAIS
AND ACCOUNT NUMBER | | SE5 CLAIM. = {2/4
See instructions above.) S | 2@>& | HCLAIMIssuBJecTTO | Z | & | 5
= SETOFF, SO STATE. Oo}
5
ACCOUNT NO. $291492212318303 2007 7000
Capitalone Credit Card
Po Box 6492
Carol Stream IL 60197-6492
ACCOUNT NO. 4640182026233910 2007 6428
Chase Cardmember Service Credit Card
United Collection Bureau
Po Box 1418
Maumee OH 43537
ACCOUNT NO. 4266841061591457 2007 TI99
Chase Cardmember Service Credit Card
United Collection Bureau
Po Box 1418
Maumee OH 43537
ACCOUNT NO. 4185559900582234 2008 3908
Chase Cardmember Service Credit Card
Mann Bracken Lip
Po Box 3268
Huntersville NC 28070
ACCOUNT NO. 4559534500567693 2007 9000
Chase Cardmember Services Credit Card
Po Box 15548
Wilmington DE 19386-5548
Sheet no,2_ of 6 continuation sheets attached Subtotal | $ 34132
to Schedule of Creditors Holding Unsecured
ity Cla
Tour | $
(Use ently on last page of the completed Schedule F.)
(Report alko on Summary of Schedules and, if applicable on the Statistical
Summary of Certain Liabilities and Related Datu.)

Case:09-08945-jrh Doc #:1-1 Filed: 07/28/2009 Page 12 of 22

B6F (Official Form 6F) (12/07) - Cont.

In re Morgan, Nancy

Debtor

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

, Case No.

Gif known)

(Continuation Sheet)
uf
CREDITOR’S NAME, we = = DATE CLAIM WAS im 5 AMOUNT OF
MAILING ADDRESS S| 7o2 INCURRED AND Z 72/8 CLAIM
INCLUDING ZIP CODE, cn $ 5 > CONSIDERATION FOR. 3 = 5
AND ACCOUNT NUMBER oO x => CLAIM. = 5 a.
(See instructions above.) 5 Zao IFCLAIMISSUBJECTTO | Z | & | 5
= SETOFF, SO STATE. oT
=
ACCOUNT NO. 4147202041943117 2007 10000
Chase Cardmember Services Credit Card
Po Box 15548
Wilmington DE 19886-5548
ACCOUNT NO. 4417122628900848 2007 12000
Chase Cardmember Services Credit Card
Po Box 15548
Wilmington DE 19886-5548
ACCOUNT NO. 4266841061882468 2007 10000
Chase Cardmember Services Credit Card
Po Box 15548
Wilmington DE 19886-5548
ACCOUNT NO. 4147202022658601 2007 11000
Chase Cardmember Services Credit Card
Po Box 15548
Wilmington DE 19886-5548
ACCOUNT NO. 374330036406334 3007 6400
Citt Cards Credit Card
Po Box 688903
Des Moines LA 50368-8903
Sheet no.3 of 6 contisuation sheets attached Subtotal | $ 49400
to Schedule of Creditors Holding Unsecured
Nonpriority Clai
Total» | $
(Use only on last page of the completed Schedule F.)
(Report also on Suramary of Schedules and, if applicable on the Statistical
Summary of Certain Lisbilities and Related Data.)

Case:09-08945-jrh Doc #:1-1 Filed: 07/28/2009 Page 13 of 22

B6F (Official Form 6F) (12/07) - Cont.

In re Morgan, Nancy ’ Case No.
Debtor (if known)
SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)
i
CREDITOR’S NAME, w > w z DATE CLAIM WAS i 2 AMOUNT OF
MAILING ADDRESS 2 | acz INCURRED AND 2 75/8 CLAIM
INCLUDING ZIPCODE, | 2 | 255 | CONSIDERATIONFoR | | < | 5
AND ACCOUNT NUMBER a a 52 CLAIM. = 5 =
(See instructions above.) S “z= | IFCLAIMISSUBJECTTO |Z | 15
= SETOFF, SO STATE. o |e
>
ACCOUNT NO. 4428135072601065 2007 5000
Citibank Credit Card
100 Citibank Drive
San Antonio TX 78245
ACCOUNT NO. Dhm20085447 January 2009 24
Clerk Of Courts Court Fees
429 North no St,
Toledo OH
ACCOUNT NO. 17363950010005 2009 385
Columbia Gas Of Chic Utilities
Po Box 742516
Cinclanatl OH 45274-2510
ACCOUNT NO. 8255 04 036 0177670 2008 66
Dish Network Cancellation Of Satellite Serv
Dept. 0063
Palantine IL 60055-0063
ACCOUNT NO. 5355990080223872 2009 230
Hsbe Card Services Credit Card
Po Box 5222
Carol Stream IL 60197-5222
Sheet no.4 of 6 continuation sheets attached Subtoral> | $ 6705
to Schedule of Creditors Holding Unsecured
city Ca
Totaly | $
(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable on the Statistical
Summary of Ceruan Liabilities and Related Data.)

Case:09-08945-jrh Doc #:1-1 Filed: 07/28/2009 Page 14 of 22
B6F (Official Form 6F) (12/07) - Cont.

In re Morgan, Nancy ; Case No.
Debtor Gf known)
SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)
ui
CREDITOR’S NAME, x |Sex = DATE CLAIM WAS ela AMOUNT OF
MAILING ADDRESS 2 oF INCURRED AND 414/218 CLAIM
INCLUDING ZIP CODE, 5 5 = CONSIDERATION FOR, SIS ts
AND ACCOUNT NUMBER | 8 | S55 CLAIM. E15],
(Sce instructions above.) S | 2°89 | ICLAMIs SUBJECT TO Z|o(|5
= SETOFF, SO STATE. os
5
ACCOUNT NO. 5480420025107598 2007 8000
Hsbe Credit Card Credit Card
Union Plas Credit Card
Po Box 60102
City Of Industry CA 91716-0102
ACCOUNT NO. 7001-1911-5000-3854 2008 1034
Hsbe Retail Services Credit Card
Po Box 5238
Carol Stream IL 60197-5238
ACCOUNT NO. 35352072272 2007 972
Key Bank Cash Reserve Credit
3360 Stickney Ave
Toledo OH 43608
ACCOUNT NO. 025633733 2008 40
Mgc Collection Services St. Anne's Emergency Room
Po Box 140700
Toledo OH 43614
ACOOUNT NO. 5218531005535688 2007 700
Paypal Plus Credit Card
Po Box 960080
Orlando FE, 32896-0080
Sheet n0.5 of 6 continuation sheets attached Subtotal» | $ 10746
to Schedule of Creditors Holding Unsecured
Nonpriority Claims
Toul» | $
(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and. if applicable on the Statistical
Summary of Certain Linbilities and Related Data.)

Case:09-08945-jrh Doc #:1-1 Filed: 07/28/2009 Page 15 of 22
B6F (Official Form 6F) (12/07) - Cont.

In re Morgan, Nancy ; Case No.
Debtor (if known)
SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)
i
CREDITOR’'S NAME, te = “ 2 DATE CLAIM WAS - a AMOUNT OF
MAILING ADDRESS 2 | eo2 INCURRED AND A je |8 CLAIM
INCLUDING ZIP CODE, 3 8 Ss CONSIDERATION FOR S7sats
AND ACCOUNTNUMBER | 5 | <5 5 CLAIM, - 15 13
Gee instructions above.) § | 42> | FcLaMissupectto |Z |S 15
= SETOFF, SO STATE. o |
5
ACCOUNT NO. 1-21194 948 53
Rocky River Urgent Care Medical Care
19895 Detroit Rd.
Rocky River OH 44116
ACCOUNT NO. 6829 2008 28
Valleybrook Clinic Inc. Medical Care
2526 N, olds Rd.
Toledo OH 43615
ACCOUNT NO. 4195370242828 2008 146
West Asset Management At & T Telephone Bill
Po Box 790113
St. Louis MO 63179-0113
ACCOUNT NO. 5046620201646791 2007 1964
Zwicker & Associates, P.c. Landstrom Credit Card
Po Box 101145
Birmingham AL 35216-6145
ACCOUNT NO.
Sheet no.6_of 6 continuation sheets attached Subtowl> | $3191
to Schedule of Creditors Holding Unsecured
sorty Cla
Total» | $ 106925
(Use only on last page of the completed Schedule F.)
{Report also on Summary of Schedules and, if applicabie on the Statictical
Summary of Certain Liabilities and Related Daim )

Case:09-08945-jrh Doc #:1-1 Filed: 07/28/2009 Page 16 of 22

B6G (Official Form 6G) (12/07)

In re Morgan, Nancy , Case No.
Debtor dif known)

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property, Include any timeshare
interests, State nature of debtor's interest in contract. i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or
lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described, If
a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent
ot guardian, such as "A.B., a minor child, by John Doe, guardian.” Do not disclose the child's name. See, 11 U.S.C. §112 and
Fed. R. Bankr. P. 1007(m).

BK] check this box if debtor has no executory contracts or unexpired leases.

NAME AND MAILING ADDRESS, DESCRIPTION OF CONTRACT OR LEASE AND
INCLUDING ZIP CODE, NATURE OF DEBTOR’S INTEREST. STATE
OF OTHER PARTIES TO LEASE OR CONTRACT. WHETHER LEASE IS FOR NONRESIDENTIAL

REAL PROPERTY. STATE CONTRACT
NUMBER OF ANY GOVERNMENT CONTRACT.

Case:09-08945-jrh Doc #:1-1 Filed: 07/28/2009 Page 17 of 22
B6H (Officiat Form 6H) (12/07)

In re Morgan, Nancy , Case No,
Debtor (if known)

SCHEDULE H - CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state.
commonwealth, or territory (including Alaska, Arizons, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight-year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any
former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the
nondebtor spouse during the cight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the
child's initials and the name and address of the child's parent or guardian. such as "A_B., a minor child, by John Doe, guardian.” Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

Check this box if debtor has no codebtoss.

NAME AND ADDRESS OF CODEBTOR NAME AND ADDRESS OF CREDITOR

Case:09-08945-jrh Doc #:1-1 Filed: 07/28/2009 Page 18 of 22
B6I (Official Form 61) (12/07)

In re Morgan, Nancy : Case No.
Debtor (if known)

SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on From 22A, 22B, or 22C.

Debtor’s Marital DEPENDENTS OF DEBTOR AND SPOUSE

Status:
Divorced | RELATIONSHIP(S): AGE(S):

Employment: DEBTOR SPOUSE

INCOME: (Estimate of average or projected monthly income at time DEBTOR SPOUSE
case filed)

1, Monthly gross wages, salary, and commissions

*
e
-*

(Prorate if not paid monthly} $ a $

2. Estimate monthly overtime

3. SUBTOTAL $ 0 $

4. LESS PAYROLL DEDUCTIONS
a. Payroll taxes and social security S$ _
b. Insurance Ln See
c, Union dues Se LH
d. Other (Specify): Sean $

5. SUBTOTAL OF PAYROLL DEDUCTIONS

6. TOTAL NET MONTHLY TAKE HOME PAY

7. Regular income from operation of business or profession or farm s Q
(Attach detailed statement)

9. Interest and dividends
10. Alimony, maintenance or support payments payable to the debtor for
the debtor’s use or that of dependents listed above
11. Social security or government assistance
(Specify):

14. SUBTOTAL OF LINES 7 THROUGH 13 $ 120

15. AVERAGE MONTHLY INCOME (Add amounts en lines 6 and 14) | Se

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column 5120
totals from line 15) (Report also on Summary of Schedules and, if applicable,
on Statistical Summary of Certain Liabilities and Related Data)

17, Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:

Case:09-08945-jrh Doc #:1-1 Filed: 07/28/2009 Page 19 of 22
B6J (Official Form 6J) (12/07)

In re Morgan, Nancy ’ Case No.
Debtor (if known)

SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

Complete thts schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case filed, Prorate any payments made bi-
Weekly, quarterly, sem#-annually, o annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income
allowed on Fonm22A of 22C.

L] Check this box if a joint petition is filed and debtor's spouse maintains a seperate houschold. Complete a separate schedule of expenditures labeled “Spouse.”

1. Rent or home mortgage payment (include lot rented for mobile home) $ 930
a. Are real estate taxes included? Ye i Ne
b. Is property ineurance included? Yes | No _
2. Utilities: a. Electricity and beating foel $ 6
b. Water and sewer $ 0
c. Telephone $ 100
d. Other $ o
3. Home maintenance (repairs and upkeep) $ 0
4. Food $ 0
5. Clothing $ 0
6, Laundry and dry cleaning $ 0
7. Medical and dental expenses $ 0
8. Transportation (not including car payments) $ 80
9. Recreation, chubs and entertainment, newspapers, magazines, etc. 5 9
10.Charitable contributions $ 9
1] Insurance (not deducted from wages or included in home moctgage payments)
a. Homeowner's oc renter’s $ 50
b. Life $ 0
¢. Health $ 0
d. Auto $ 40
¢. Other $ 9
12. Taxes (not deducted from wages of included in home mortgage payments)
(Specify) $ 150
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
a. Auto $ 213
b. Other $ 0
c. Other $
14. Alimony, maintenance, and support paid to others $ 0
15. Payments for support of additional dependents not living at your home $ 0
16. Regular expenses from operation of business, profession. or fatm (attach detailed statement) $ 0
17, Other $ 9
18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and. $ 1563
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any inctease ox decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
20, STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I $ 120
b, Average monthly expenses from Line 18 above $ 1563

c. Monthly net income (a. mums b.} $ -1443
Case:09-08945-jrh Doc #:1-1 Filed: 07/28/2009 Page 20 of 22

B6 Summary (Official Foem 6 - Summary) (12/07)

United States Bankruptcy Court

WESTERN District Of MICHIGAN

Inre Morgan, Nancy ; Case No.
Debtor
Chapter _7

SUMMARY OF SCHEDULES

Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, 1,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical
Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, of 13.

ATTACHED
NAME OF SCHEDULE (YES/NO) NO. OF SHEETS ASSETS LIABILITIES OTHER
A - Real Property 1 $ 69000
B - Personal Propexty 3 $ 4500
C - Property Claimed 1
as Exempt
D - Creditors Holding $
Secured Claims 1 69837
E - Creditors Holding Unsecured $
Pronty Clams 3 2322
(Total of Claims on Schedule E)
F - Creditors Holding Unsecured $
Nonpniority Claims 6 106925
G - Executory Contracts and
Unexpired Leases 1
H - Codebtors 1
1 - Cunrent Income of 1 5 120
Individual Debtor(s)
J - Current Expendirores of Individual 1 $ 1563
Debtors(s)
TOTAL s 73500 | * 179084

Case:09-08945-jrh Doc #:1-1 Filed: 07/28/2009 Page 21 of 22

Form 6 - Statistical Summary (12407)

United States Bankruptcy Court

WESTERN _ District of _ MI

Inre Morgan, Nancy : Case No.
Debtor
Chapter 7
STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

O Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

Type of Liability Amount

Domestic Support Obligations (from Schedule E) $ 0

Taxes and Certain Other Debts Owed to Governmental Units 5 2322

(from Schedule E)

Claims for Death or Personal Injury While Debtor Was $

Intoxicated (from Schedule E) (whether disputed or undisputed) 0

Student Loan Obligations (from Schedule F) $ 0

Domestic Support, Separation Agreement, and Divorce Decree $ 0

Obligations Not Reported on Schedule E

Obligations to Pension or Profit-Sharing, and Other Similar $ 0

Obligations (from Schedule F)

TOTAL | § 2322
State the following:

Average Income (from Schedule I, Line 15) $ 120

Average Expenses (from Schedule J, Line 18) $ 1563

Current Monthly Income (from Form 22A Line 12; OR, Form $ 120

22B Line 11; OR, Form 22€ Line 20 )

State the following:

L. Total from Schedule D, “UNSECURED PORTION, IF pg 2337
ANY” column
2. Total from Schedule E, “AMOUNT ENTITLED TO $ 3221
PRIORITY” column.
3. Total from Schedule E, “AMOUNT NOT ENTITLED TO . . $ 6
PRIORITY, IF ANY” column
4, Total from Schedule F $ 106925
5. Total of non-priority unsecured debt (sum of 1, 3, and 4) $ 109262

Case:09-08945-jrh Doc #:1-1 Filed: 07/28/2009 Page 22 of 22

B6 Declatation (Official Form 6 - Declarution) (12/07)

Jnre Morgan, Nancy ; Case No,
Dedior (if known)

DECLARATION CONCERNING DEBTOR'S SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR.

I declare under penalty of perjury that Ihave read the foregoing summary and schedules, consisting of 263 sheets, and that they are true and correct to the best of
ory knowledge, information, and belief.

Date 4\r4| 4 Signature

J”

7 (Joint Debtor, if any}

Date Signature:

[If joint case, both spouses must sign. |

DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPICY PETITION PREPARER (See 11 U.S.C. § 110)

I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided
the debtor with a copy of this document and the motices and information required under 11 U.S.C. §§ 110(b), 110(h) and 342(b): and, (3) if rales or guidelines have been

promulgated pursoant to 11 U.S.C. § 1L0(h) setting a maxomum fee for services chargeable by bankruptcy petition preparers, I have grven the debtor notice of the maximum
amcunt before preparing amy document for filing for 2 debtor or accepting any fee from the debtor, as required by that section.

Printed oc Typed Name and Title, if any. Social Security No.
of Bankraptcy Petition Preparer (Required by 11 U.S.C. § 110)

Ef the bankruptcy petition preparer is not an individual, state the name, titie (if any), address, and social security mamber of the officer, principa
who signs this document.

§

Ga aud

Address

x
Signature of Bankruptcy Petition Preparer Date

olny 92 Tn donz

*
+

ifmore than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each parson.

A bankrupicy petition preparer’s failure to comply with the provisions of tite 11 and the Federal Rules of Bankrupicy Procedure may result in fines or imprisonment or both. 1 U.S.C. § 1G;
18USC 8 156.

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

L the [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partuersiup J of the [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I have
read the foregoing summary and schedules, consisting of __ sheets (Total shown on summary page plus 2), and that they are true and correct to the best of my
knowledge, information, and belief.

Date

Signarure:

[Print or type name of individual signing on behalf of debtor.]

[An individual signing on behalf ofa partnership or corporation must indicate position or relationship to debtor j

Penalty for making a faise statement or concealing property: Fine of up to $500,000 or inaprisonment for up to 5 years or both, 18 U.S.C. §§ 152 and 3571.
